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  8                            UNITED STATES DISTRICT COURT
  9                         SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    THE GRIP MASTER COMPANY LTD.,                             CASE NO. 08cv1320-WMc
 12                                          Plaintiff,          ORDER RE: JOINT MOTION TO
              vs.                                                DISMISS COMPLAINT WITH
 13                                                              PREJUDICE AND
                                                                 COUNTERCLAIMS WITHOUT
 14    LAMKIN CORP., et al.,                                     PREJUDICE
 15                                        Defendant.

 16
             Pursuant to a confidential agreement, the parties jointly move to dismiss the Second
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      Amended Complaint with prejudice and the counterclaims without prejudice. Each party will bear
 18
      its own attorney’s fees and costs. Further, the parties agree that Magistrate Judge William
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      McCurine, Jr. is to retain jurisdiction to enforce the terms of the settlement. For good cause, the
 20
      joint motion is GRANTED.
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             IT IS SO ORDERED.
 22
      DATED: December 8, 2009
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                                                      Hon. William McCurine, Jr.
 25                                                   U.S. Magistrate Judge
                                                      United States District Court
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